                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                           Case No. 23-43403-mlo

Ark Laboratory, LLC,                             Chapter 11

                             Debtor.             Hon. Maria L. Oxholm



      STIPULATION RESOLVING THE LIQUIDATING TRUSTEE’S
     MOTION FOR AN ORDER DIRECTING DAVID H. FINK OF FINK
    BRESSACK TO (I) PRODUCE DOCUMENTS AND (II) APPEAR FOR
   ORAL EXAMINATION PURSUANT TO RULE 2004 OF THE FEDERAL
              RULES OF BANKRUPTCY PROCEDURE

         Paul R. Hage, solely in his capacity as the Liquidating Trustee of the Ark

 Laboratory Trust (the “Liquidating Trustee”) and David H. Fink (“Fink”) of Fink

 Bressack (“Fink Law”), through their respective undersigned counsel, state as

 follows:

         1.    The Liquidating Trustee filed his Motion For An Order Directing David

 H. Fink Of Fink Bressack To (I) Produce Documents And (II) Appear For Oral

 Examination Pursuant To Rule 2004 Of The Federal Rules Of Bankruptcy Procedure

 [ECF No. 528] (the “2004 Motion”) seeking, among other things, production of the




   23-43403-mlo
 131491970v2       Doc 532    Filed 02/20/24   Entered 02/20/24 09:49:45   Page 1 of 5
Client File,1 including the Records, in Fink Law’s and/or Fink’s possession and/or

control.

         2.    Subsequent to filing the 2004 Motion, Fink contacted the Liquidating

Trustee’s counsel and agreed to produce the Client File subject to the terms and

conditions set forth in the Order, attached as Exhibit 1 hereto.

         WHEREFORE the Liquidating Trustee, Fink Law and Fink request entry of

the attached Order in resolution of the 2004 Motion.

STIPULATED FOR ENTRY:

    TAFT STETTINIUS & HOLLISTER, LLP                FINK BRESSACK

    By: /s/ Kimberly Ross Clayson                   By: /s/Nathan J. Fink (w/permission)
    Kimberly Ross Clayson (P69804)                  Nathan J. Fink (P75185)
    Judith Greenstone Miller (P29208)               38500 Woodward Avenue
    27777 Franklin Road, Suite 2500                 Suite 350
    Southfield, Michigan 48034                      Bloomfield Hills, MI 48304
    (248) 351-3000                                  (248) 971-2500
    kclayson@taftlaw.com                            nfink@finkbressack.com
    jgmiller@taftlaw.com
                                                    Counsel to Fink Bressack and David
    Counsel for the Liquidating Trustee             H. Fink

    Dated: February 20, 2024




1
 Capitalized terms not otherwise defined in this Stipulation shall have the same
meaning ascribed in the 2004 Motion.


  23-43403-mlo
131491970v2        Doc 532     Filed 02/20/24   Entered 02/20/24 09:49:45   Page 2 of 5
                                   EXHIBIT 1




  23-43403-mlo
131491970v2      Doc 532   Filed 02/20/24   Entered 02/20/24 09:49:45   Page 3 of 5
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                           Case No. 23-43403-mlo

Ark Laboratory, LLC,                             Chapter 11

                             Debtor.             Hon. Maria L. Oxholm




     STIPULATED ORDER RESOLVING THE LIQUIDATING TRUSTEE’S
       MOTION FOR AN ORDER DIRECTING DAVID H. FINK OF FINK
      BRESSACK TO (I) PRODUCE DOCUMENTS AND (II) APPEAR FOR
     ORAL EXAMINATION PURSUANT TO RULE 2004 OF THE FEDERAL
                RULES OF BANKRUPTCY PROCEDURE

         This matter having come before the Court on the Stipulation Resolving the

 Liquidating Trustee’s Motion for an Order Directing David H. Fink of Fink Bressack

 to (I) Produce Documents and (II) Appear for Oral Examination Pursuant to Rule

 2004 of the Federal Rules of Bankruptcy Procedure (the “Stipulation”)2 filed by the

 Liquidating Trustee, Fink Law and Fink resolving the 2004 Motion, the Court having

 read same and being otherwise fully and duly advised in the premises;

         NOW THEREFORE, IT IS HEREBY ORDERED as follows:

         1.    Fink Law and Fink shall produce the Client Files, including the

 Records, to the Liquidating Trustee within one week of the entry of this Order.


 2
  Capitalized terms not otherwise defined in this Order shall have the same meaning
 ascribed in the Stipulation.


   23-43403-mlo
 131491970v2       Doc 532    Filed 02/20/24   Entered 02/20/24 09:49:45   Page 4 of 5
      2.     The Liquidating Trustee is authorized to take an oral examination of

Fink Law and Fink (the “Examination”) at a date, time and location mutually agreed

upon by the Liquidating Trustee, Fink Law and Fink or, in the event that a mutually

agreed upon date, time and location is unable to be established after the Liquidating

Trustee has made reasonable efforts to schedule the Examination, upon seven days’

advance notice. The Liquidating Trustee shall file a Notice of Deposition with the

Court and serve same on Fink Law and Fink at least seven days in advance of the

Examination date, time and location.




  23-43403-mlo
131491970v2      Doc 532   Filed 02/20/24   Entered 02/20/24 09:49:45   Page 5 of 5
